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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
FirstEnergy Pennsylvania Electric         :   Civil No. 1:24-CV-1687
Company, et al.                           :
                                          :
            Plaintiffs,                   :
                                          :
             v.                           :
International Brotherhood of Electrical   :
Workers, Local Union 777mAFL-CIO.         :      Judge Jennifer P. Wilson

            Defendant.

                                      ORDER

      AND NOW, on this 14th day of November, 2024, the court observing that

motions pursuant to Federal Rule of Civil Procedure 12(b) are discouraged if the

pleading defect is curable by amendment, IT IS ORDERED THAT the parties

must meet and confer prior to the filing of such a motion to determine whether the

motion can be avoided. The duty to meet and confer extends to all parties,

including those appearing pro se. Consistent with this order, motions to dismiss

must be accompanied by a certificate of the movant stating that the moving

party has made good faith efforts to confer with the nonmovant(s) to determine

whether the identified pleading deficiencies may be cured by amendment.

      Motions to dismiss that do not contain the required certification will be

summarily denied without prejudice. A non-moving party’s failure to comply with

this order, including a failure to timely engage in the meet-and-confer process, may

result in the assessment of monetary and/or nonmonetary sanctions. Those

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sanctions may include, but are not limited to, an assessment of attorney’s fees and

costs associated with the filing of the motion to dismiss.

      In addition, the parties shall not unnecessarily oppose motions to amend the

pleadings that are filed prior to the initial case management conference, or within

the time set forth in the parties’ Rule 26(f) report and/or the court’s case

management order.

                                        s/Jennifer P. Wilson
                                        JENNIFER P. WILSON
                                        United States District Judge
                                        Middle District of Pennsylvania




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